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                              UN ITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF FLORIDA
                                   PANAMA CITY DIVISION

UNITED STATES OF AMERICA

-vs-                                                  Case# 5:16cr9-001

MIGUEL MORALES MALDONADO
a/k/a "Mike Morales"
a/k/a "Preemo"
a/k/a "Miguel Maldonado Morales"
                                                      USM # 69946-019

                                                      Defendant's Attorney:
                                                      Michelle K. Daffin (AFPD)
                                                      30 W. Government Street
                                                      Tallahassee , Florida 32401


                               JUDGMENT IN A CRI MINAL CASE

The defendant pleaded guilty to Counts 2 and 3 of the indictment on June 24 , 2016 .
Accord ingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:




           TITLE/SECTION                 NATURE OF                 DATE OFFENSE        COUNT
              NUMBER                      OFFENSE                   CONCLUDED



 21 U.S.C. §§ 841(a)(1),         Possession with Intent to        December 18, 2015      2
 841 (b)(1 )(A)(viii) and        Distribute 50 Grams or more of
 18 U.S.C. § 2                   Methamphetamine, its sa lts ,
                               · isomers, and salts of its
                                 isomers, and 500 Grams of
                                 Methamphetamine or more of a
                                 mixture and substance
                                 containing a detectable amount
                                 of isomers and Aiding and
                                 Abetting
 21 U.S.C. §§ 841(a)(1) and      Possession with Intent to        December 21 , 2015     3
 841 (B)( 1)(A)(viii)            Distribute 50 Grams or more of
                                 Methamphetamine, its salts ,
                               · isomers, and salts of its
                                 isomers


Count 1 is dismissed on the motion of the United States.

                                                                         CERTIFIED A TRUE COPY
                                                                  Je .
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                                                                                                       ourt
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The defendant is sentenced as provided in the following pages of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission .                    ·

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution , costs and special assessments imposed by this judgment are fully paid .



                                     Date of Imposition of Sentence:
                                     September 6, 2016


                                     s/Robert L. Hinkle
                                     United States District Judge
                                     September 11 , 2016




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                                    IMPRISONMENT



The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 48 months on Counts 2 and 3, to run
concurrently.             ·

The Court recommends to the Bureau of Prisons in order of priority:

                   1. The defendant should participate in a
          residential drug-abuse program and in cognitive behavioral
          therapy.

                   2. The defendant should be designated to a facility
          as near as possible to Atlanta, Georgia.

                    3. There are pending state charges against the defendant. See
          presentence report 147. If the defendant is convicted and sentenced to
          custody on one of the state charges, the state sentence should be served
          concurrently with 'or consecutively to this federal sentence, as ordered
          or recommended by the state sentencing judge. This federal sentencing
          judge recommends that the Bureau of Prisons designate a state facility
          for service of this federal sentence, thus in effect making this federal
          sentence concurrent with the state sentence, if the state sentencing judge
          so orders or recommends.

The defendant is remanded to the United States Marshal.




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                                            RETURN

I have executed this judgment as follows:




Defendant delivered on
                         - - - - - - - - - to - - - - - - - - - - - - - - -
at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this

judgment.


                                    UNITED STATES MARSHAL


                                    By: _ _ _ _ _ _ _ _ _ _ _ __
                                            Deputy U.S. Marshal




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                                     SUPERVISED RELEASE

        Upon release from imp~isonment, the defendant shall be on supervised release for a
term of 5 years on Counts 2 and 3, to run concurrently.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons .

      The defendant shall not commit another federal, state, or local crime and shall not
possess a firearm , destructive device, or any other dangerous weapon .

         The defendant shall not unlawfully possess a controlled substance . The defendant shall
refrain from any unlawful use o'f 9 controlled substance . The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter,
as determined by the court.

           The defendant shall cooperate in the collection of DNA as directed by the probation
officer.



                           STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1. The defendant shall not leave the judicial district without the permission of the court or
probation officer;

2. The defendant shall report .to the probation officer and shall submit a truthful and complete
                                    .
written report within the first five days of each month ;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the
instructions of the probation officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation
officer for schooling, training, ?r other acceptable reasons;

6. The defendant shall notify the·probation officer at least 10 days prior to any change in
residence or employment;

7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
use, distribute, or administer any controlled substance or any paraphernalia related to any
controlled substances, except as prescribed by a physician ;

8. The defendant shall not frequent places where controlled substances are illegally sold , used ,
distributed, or administered ; · .



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9. The defendant shall not associate with any persons engaged in criminal activity and shall not
associate with any person convicted of a felony unless granted permission to do so by the
probation officer;

10. The defendant shall permit a probation officer to visit him or her at any time at home or
elsewhere and shall permit confiscation of any contraband observed in plain view of the
probation officer;            ·

11 . The defendant shall notify the probation officer within 72 hours of being arrested or
questioned by a law enforcement officer;

12. The defendant shall not enter into any agreement to act as an informer or a special agent of
a law enforcement agency without the permission of the court; and

13. As directed by the probati.on officer, the defendant shall notify third parties of risks that may
be occasioned by the defendant's criminal record or personal history or characteristics and shall
permit the probation officer to make such notifications and to confirm the defendant's
compliance with such notification requirement.

14. If this judgment imposes a fine or a restitution obligation, it shall be a condition of
supervision that the defendant pay any such fine or restitution in accordance with the Schedule
of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.




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                          ADDITIONAL.: CONDITIONS OF SUPERVISED RELEASE


       The defendant shall also comply with the following additional conditions of supervised
release:



                      1. The d~fendant must report to the probation office in person
                within 72 hours aft~r the defendant is released from custody. The office
                must be in the Northern District of Florida or the district where the
                defendant is released from custody.

                     2. The defendant must not own or possess a firearm, dangerous
                weapon, or destructive device.

                       3. The defendant must submit to testing to determine whether he
                is using drugs or alcohol.

                      4. The defendant must successfully participate in substance-abuse
                treatment consisting of an initial evaluation-by a probation officer or
                outside provider-and any further appropriate treatment. The treatment
                may include cognitive behavioral therapy.

                       5. The defendant must provide the probation officer all requested
                financial information, business or personal.




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Upon a finding of a violation of probation or supervised release, I understand the Court may (1 )
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision .                  .
       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them . •



Defendant                                                           Date




U.S. Probation Officer/Designated Witness                           Date




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                               CRIMINAL MONETARY PENAL TIES


         All criminal monetary pen~lty payments, except those payments made through the
Bureau of Prisons' Inmate Financial Responsibility Program, are to be made to the Clerk, U.S.
District Court, unless otherwise directed by the Court. Payments shall be made payable to the
Clerk , U.S. District Court, and mailed to 111 N. Adams St. , Suite 322 , Tallahassee, FL 32301 -
7717 . Payments can be made in the form of cash if paid in person .

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments . The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f) . All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(9) .


                  SPECIAL ·                                                      RESTITUTION
            MONETARYASESSEMENT
                   $200.00                                   -0-                       -0-


                            SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 is imposed .

No fine imposed .




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                                     SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
federal victim restitution ; (3) federal victim restitution; (4) fine principal ; (5) costs; (6) interest; (7)
penalties

Payment of the total fine and other criminal monetary penalties shall be due as follows :

in full immediately

The defendant must notify the court of any material changes in the defendant's economic
circumstances, in accordance'with 18 U.S.C. §§ 3572(d) , 3664(k) and 3664(n). Upon notice of
a change in the defendant's ecortomic condition, the Court may adjust the installment payment
schedule as the interests of justice require .

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A) :

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the
amount due. The defendant will receive credit for all payments previously made toward any
criminal monetary penalties imposed.

The defendant shall forfeit the defendant's interest in the following property to the United States:




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